     Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 1 of 54




            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA


XIAOMI CORPORATION, et al.,

                Plaintiffs,

     v.
                                                 Case No. 1:21-cv-00280-RC
DEPARTMENT OF DEFENSE, et al.,
                Defendants.




          MEMORANDUM IN SUPPORT OF PLAINTIFFS’
           MOTION FOR PRELIMINARY INJUNCTION
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 2 of 54



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 4

          A.         Xiaomi Is a Consumer Electronics Company with Extensive Ties to the
                     United States. .......................................................................................................... 4

          B.         Xiaomi Is Widely Held, Publicly Traded, and Ultimately Controlled by Its
                     Founders.................................................................................................................. 6

          C.         The Department of Defense Designated Xiaomi a Communist Chinese
                     Military Company (CCMC) In the Final Three Full Working Days of the
                     Trump Administration, Without Notice or Explanation. ........................................ 9

                     1.         Congress Provided for the Designation of Certain Entities as
                                CCMCs Pursuant to a Statutory Process and Criteria. ................................ 9

                     2.         Under an Executive Order Issued by President Trump,
                                Transactions by U.S. Persons in the Securities of a Designated
                                CCMC Are Restricted. .............................................................................. 10

                     3.         After the Issuance of the Executive Order, and Only Three
                                Working Days Before the End of the Trump Administration, the
                                Department of Defense, Without Notice or Explanation,
                                Designated Xiaomi a CCMC. ................................................................... 11

                     4.         The Department of Defense’s Designation of Xiaomi as a CCMC
                                Is Causing and Will Continue to Cause Plaintiffs Irreparable Harm. ....... 12

          D.         Plaintiffs Sued to Invalidate the Unlawful Designation and Restrictions
                     and Move for a Preliminary Injunction Before the March 15, 2021
                     Effective Date. ...................................................................................................... 14

ARGUMENT ................................................................................................................................ 15

I.        Plaintiffs Are Likely to Succeed on the Merits of Their Claims That the
          Designation and Restrictions Are Unlawful and Unconstitutional. .................................. 15

          A.         Plaintiffs Are Likely to Succeed on the Merits of Their Claim that the
                     Designation Was Arbitrary, Capricious, and Contrary to Law in Violation
                     of the APA. ........................................................................................................... 16

                     1.         The Department of Defense’s Designation of Xiaomi as a CCMC
                                under Section 1237 is Reviewable under the APA. .................................. 17

                     2.         The Department of Defense Fails to Explain Its Decision. ...................... 18

                     3.         The Department of Defense’s Designation Is Not Supported by
                                Substantial Evidence and Is Necessarily Contrary to Any Accurate
                                Information Before the Agency. ............................................................... 21



                                                                       i
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 3 of 54



          B.         Plaintiffs Are Likely to Succeed on the Merits of Their Claim that the
                     Designation Exceeded the Defense Department’s Authority Under Section
                     1237 Because Xiaomi Does Not Meet The Criteria Required for Exercise
                     of Such Authority.................................................................................................. 22

          C.         The Designation and Restrictions Violate Due Process, As Applied to
                     Plaintiffs, Because the Government Did Not Provide Any Notice or
                     Opportunity to Contest the Designation. .............................................................. 26

                     1.         The Government Was Required to Provide Due Process When
                                Designating Xiaomi as a CCMC and Applying the Restrictions. ............. 27

                     2.         The Designation and Restrictions Deprived Plaintiffs of Liberty
                                and Property Interests Without Due Process Because They Did Not
                                Afford Plaintiffs Any Notice or Opportunity to Be Heard. ...................... 28

                     3.         Any Post-Deprivation Process Would Be Constitutionally
                                Inadequate. ................................................................................................ 31

          D.         This Case Is Justiciable and Does Not Pose A Political Question. ....................... 33

II.       The Designation and Restriction Are Inflicting, and Will Continue to Inflict,
          Irreparable Harm on Plaintiffs. ......................................................................................... 35

          A.         The Designation and Restrictions Are Irreparably Harming Plaintiffs’
                     Fifth Amendment Rights and Will Continue to Do So. ........................................ 35

          B.         The Designation and Restrictions Are Irreparably Harming Xiaomi’s
                     Business and by Extension Its Shareholders Including the Individual
                     Plaintiffs, and Will Continue to Do So. ................................................................ 36

          C.         The Designation and Restrictions Will Cause the Individual Plaintiffs to
                     Suffer Irreparable Harm. ....................................................................................... 40

III.      The Balance of the Equities and the Public Interest Support A Preliminary
          Injunction. ......................................................................................................................... 41

CONCLUSION ............................................................................................................................. 43




                                                                       ii
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 4 of 54




                                               TABLE OF AUTHORITIES

Cases                                                                                                                          Page(s)

Aamer v. Obama,
   742 F.3d 1023 (D.C. Cir. 2014) ...............................................................................................15

Advance Am. v. FDIC,
   No. 14-CV-953 (GK), 2017 WL 2672741 (D.D.C. Feb. 23, 2017) .........................................36

Aid Ass’n for Lutherans v. U.S. Postal Serv.,
   321 F.3d 1166 (D.C. Cir. 2003) ...............................................................................................22

Air Trans. Ass’n of Am., Inc. v. Export-Import Bank,
    840 F. Supp. 2d 327 (D.D.C. 2012) .........................................................................................39

Armour & Co. v. Freeman,
   304 F.2d 404 (D.C. Cir. 1962) .................................................................................................38

Armstrong v. Manzo,
   380 U.S. 545 (1965) .................................................................................................................26

In re ATM Fee Antitrust Litig.,
    686 F.3d 741 (9th Cir. 2012) ...................................................................................................24

Bayer HealthCare, LLC v. U.S. Food & Drug Admin.,
   942 F. Supp. 2d 17 (D.D.C. 2013) ...........................................................................................37

Bd. of Regents of State Colleges v. Roth,
    408 U.S. 564 (1972) .................................................................................................................28

Bennett v. Spear,
   520 U.S. 154 (1997) .................................................................................................................17

Boddie v. Connecticut,
   401 U.S. 371 (1971) .................................................................................................................31

CAIR v. Dep’t of Justice,
   264 F. Supp. 2d 14 (D.D.C. 2003) ...........................................................................................18

Chai v. Dep’t of State,
   466 F.3d 125 (D.C. Cir. 2006) .................................................................................................31

Citizens to Preserve Overton Park, Inc. v. Volpe,
    401 U.S. 402 (1971) .................................................................................................................18




                                                                    iii
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 5 of 54




Cooper Indus., Ltd. v. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa.,
   876 F.3d 119 (5th Cir. 2017) ...................................................................................................23

County of Los Angeles v. Shalala,
   192 F.3d 1005 (D.C. Cir. 1999) ...............................................................................................19

Defs. of Wildlife v. Jewell,
   815 F.3d 1 (D.C. Cir. 2016) .....................................................................................................21

Dickinson v. Zurko,
   527 U.S. 150 (1999) ...........................................................................................................16, 21

Dickson v. Sec’y of Def.,
   68 F.3d 1396 (D.C. Cir. 1995) .................................................................................................20

District of Columbia v. U.S. Dep’t of Agric.,
   444 F. Supp. 3d 1 (D.D.C. 2020) .........................................................................................3, 40

Elrod v. Burns,
   427 U.S. 347 (1976) .................................................................................................................35

Epsilon Elecs., Inc. v. Dep’t of Treasury,
   857 F.3d 913 (D.C. Cir. 2017) ...........................................................................................19, 20

Feinerman v. Bernardi,
   558 F. Supp. 2d 36 (D.D.C. 2008) .....................................................................................39, 40

Fuentes v. Shevin,
   407 U.S. 67 (1972) ...................................................................................................................31

Gen. Elec. Co. v. Jackson,
   610 F.3d 110 (D.C. Cir. 2010) .................................................................................................28

Global Relief Found., Inc. v. O’Neill,
   315 F.3d 748 (7th Cir. 2002) ...................................................................................................32

Goings v. Court Servs. & Offender Supervision Agency for D.C.,
   786 F. Supp. 2d 48 (D.D.C. 2011) ...........................................................................................36

Gordon v. Holder,
   721 F.3d 638 (D.C. Cir. 2013) .................................................................................................42

Pursuing Am.’s Greatness v. FEC,
   831 F.3d 500 (D.C. Cir. 2016) .................................................................................................41

Holy Land Found. for Relief & Dev. v. Ashcroft,
   219 F. Supp. 2d 57 (D.D.C. 2002) ...........................................................................................32




                                                                    iv
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 6 of 54




Holy Land Found. for Relief & Dev. v. Ashcroft,
   333 F.3d 156 (D.C. Cir. 2003) ...........................................................................................17, 32

Islamic Am. Relief Agency v. Gonzales,
    477 F.3d 728 (D.C. Cir. 2007) .................................................................................................20

John Doe Co. v. CFPB,
   849 F.3d 1129 (D.C. Cir. 2017) ...............................................................................................35

Joumaa v. Mnuchin,
   No. 17-CV-2780 (TJK), 2019 WL 1559453 (D.D.C. Apr. 10, 2019) .....................................20

Kadi v. Geithner,
   42 F. Supp. 3d 1 (D.D.C. 2012) ...............................................................................................20

Kirwa v. Dep’t of Def.,
   285 F. Supp. 3d 257 (D.D.C. 2018) .........................................................................................19

League of Women Voters v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................42

Marsh v. Or. Nat. Res. Council,
  490 U.S. 360 (1989) .................................................................................................................16

Massachusetts Lobstermen’s Ass’n v. Ross,
  349 F. Supp. 3d 48 (D.D.C. 2018) ...........................................................................................23

Mathews v. Eldridge,
   424 U.S. 319 (1976) .................................................................................................................28

Mey v. DIRECTV, LLC,
   971 F.3d 284 (4th Cir. 2020) ...................................................................................................25

Meyer v. Nebraska,
  262 U.S. 390 (1923) .................................................................................................................28

Mills v. District of Columbia,
   571 F.3d 1304 (D.C. Cir. 2009) ...............................................................................................35

Mittleman v. Postal Reg. Comm’n,
   757 F.3d 300 (D.C. Cir. 2014) .................................................................................................22

Morgan Stanley DW Inc. v. Rothe,
  150 F. Supp. 2d 67 (D.D.C. 2001) ...........................................................................................38

*Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
  463 U.S. 29 (1983) .................................................................................................16, 19, 20, 21




                                                                    v
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 7 of 54




Mullane v. Central Hanover Bank & Trust Co.,
   339 U.S. 306 (1950) .................................................................................................................29

Mylan Pharm., Inc. v. Shalala,
   81 F. Supp. 2d 30 (D.D.C. 2000) .............................................................................................37

*Nat’l Council of Resistance of Iran v. Dep’t of State,
   251 F.3d 192 (D.C. Cir. 2001) .....................................................................................27, 28, 31

Nat’l Fed’n of Fed. Empls. v. Weinberger,
   818 F.2d 935 (D.C. Cir. 1987) .................................................................................................18

Nat’l Min. Ass’n v. Jackson,
   768 F. Supp. 2d 34 (D.D.C. 2011) ...........................................................................................39

Nixon v. United States,
   506 U.S. 224 (1993) .................................................................................................................34

Nken v. Holder,
   556 U.S. 418 (2009) .................................................................................................................41

Nw. Immigrant Rights Proj. v. U.S. Citizenship & Immigration Servs.,
   No. 19-CV-3283 (RDM), 2020 WL 5995206 (D.D.C. Oct. 8, 2020)......................................43

OKKO Bus. PE v. Lew,
  133 F. Supp. 3d 17 (D.D.C. 2015) ...........................................................................................20

Olenga v. Gacki,
   No. 19-CV-1135 (RDM), 2020 WL 7024206 (D.D.C. Nov. 30, 2020) ............................18, 20

Parsons v. Dep’t of Justice,
   878 F.3d 162 (6th Cir. 2017) ...................................................................................................17

Paul v. Davis,
   424 U.S. 693 (1976) ...........................................................................................................27, 28

People’s Mojahedin Org. of Iran v. Dep’t of State,
   182 F.3d 17 (D.C. Cir. 1999) ...................................................................................................34

People’s Mojahedin Org. of Iran v. Dep’t of State,
   613 F.3d 220 (D.C. Cir. 2010) .................................................................................................31

Physicians for Social Responsibility v. Wheeler,
   956 F.3d 634 (D.C. Cir. 2020) .................................................................................................19

Propert v. District of Columbia,
   948 F.2d 1327 (D.C. Cir. 1991) ...............................................................................................30




                                                                   vi
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 8 of 54




Rakhimov v. Gacki,
   No. 19-CV-2554 (JEB), 2020 WL 1911561 (D.D.C. Apr. 20, 2020)......................................20

*Ralls Corp. v. CFIUS,
   758 F.3d 296 (D.C. Cir. 2014) ......................................................................................... passim

Reeve Aleutian Airways, Inc. v. United States,
   982 F.2d 594 (D.C. Cir. 1993) .................................................................................................28

Reid v. Covert,
   354 U.S. 1 (1957) .....................................................................................................................27

Sandifer v. U.S. Steel Corp.,
   571 U.S. 220 (2014) .................................................................................................................23

Satterfield v. Simon & Schuster, Inc.,
    569 F.3d 946 (9th Cir. 2009) ...................................................................................................26

Save Jobs USA v. DHS,
   105 F. Supp. 3d 108 (D.D.C. 2015) .........................................................................................40

SEC v. Chenery,
   318 U.S. 80 (1943) ...................................................................................................................19

Simms v. District of Columbia,
   872 F. Supp. 2d 90 (D.D.C. 2012) ...........................................................................................36

State of Washington v. U.S. Dep’t of State,
    443 F. Supp. 3d 1245 (W.D. Wash. 2020) ...............................................................................35

Sulemane v. Mnuchin,
   No. CV 16-1822 (TJK), 2019 WL 77428 (D.D.C. Jan. 2, 2019).............................................20

Tex Tin Corp. v. EPA,
   935 F.2d 1321 (D.C. Cir. 1991) ...............................................................................................20

*TikTok Inc. v. Trump,
   No. 1:20-CV-02658 (CJN), 2020 WL 5763634 (D.D.C. Sept. 27, 2020) .........................37, 39

*TikTok Inc. v. Trump,
   No. 20-CV-2658 (CJN), 2020 WL 7233557 (D.D.C. Dec. 7, 2020) .................................17, 20

Trifax Corp. v. District of Columbia,
    314 F.3d 641 (D.C. Cir. 2003) .................................................................................................28

Trudeau v. FTC,
   456 F.3d 178 (D.C. Cir. 2006) .................................................................................................22




                                                                    vii
            Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 9 of 54




Twichel v. MIC Gen. Ins. Corp.,
   676 N.W.2d 616 (2004) ...........................................................................................................23

United States v. E-Gold, Ltd.,
   521 F.3d 411 (D.C. Cir. 2008) .................................................................................................31

United States v. Verdugo-Urquidez,
   494 U.S. 259 (1990) .................................................................................................................27

United States v. W. Elec. Co.,
   12 F.3d 225 (D.C. Cir. 1993) ...................................................................................................25

United Student Aid Funds v. Espinosa,
   559 U.S. 260 (2010) .................................................................................................................29

ViroPharma, Inc. v. Hamburg,
   898 F. Supp. 2d 1 (D.D.C. 2012) .............................................................................................39

Washington v. Reno,
  35 F.3d 1093 (6th Cir. 1994) ...................................................................................................42

Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,
   139 S. Ct. 361 (2018) .........................................................................................................17, 18

Winter v. Nat. Res. Def. Council,
   555 U.S. 7 (2008) .....................................................................................................................15

Wis. Gas Co. v. FERC,
   758 F.2d 669 (D.C. Cir. 1985) .................................................................................................39

Zarmach Oil Servs., Inc. v. U.S. Dep’t of the Treasury,
   750 F. Supp. 2d 150 (D.D.C. 2010) .........................................................................................20

Zevallos v. Obama,
   10 F. Supp. 3d 111 (D.D.C. 2014) .....................................................................................20, 32

Zevallos v. Obama,
   793 F.3d 106 (D.C. Cir. 2015) .................................................................................................33

Zivotofsky ex rel. Zivotofsky v. Clinton,
   566 U.S. 189 (2012) ...........................................................................................................33, 34

Constitutional Provisions and Statutes

U.S. Const., amend. V............................................................................................................ passim

National Defense Authorization Act for Fiscal Year 1999 Section 1237, Pub. L.
   105-261, 112 Stat. 2160 (Oct. 17, 1998).......................................................................... passim



                                                                   viii
           Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 10 of 54




3 U.S.C. § 301 ................................................................................................................................10

5 U.S.C. § 701 et. seq............................................................................................................. passim

8 U.S.C. § 1189 ........................................................................................................................31, 34

50 U.S.C. § 1601 et seq..................................................................................................................10

50 U.S.C. § 1701 et. seq...........................................................................................................10, 29

Other Authorities

17 C.F.R. § 240.12b-2....................................................................................................................26

31 C.F.R. § 501.807 .......................................................................................................................33

31 C.F.R. § 560.215 .......................................................................................................................25

31 C.F.R. § 561.322 .......................................................................................................................24

American Heritage Dictionary of the English Language (5th ed. 2011) .......................................23

Black’s Law Dictionary ...........................................................................................................23, 25

Oxford English Dictionary .............................................................................................................23

Webster’s New International Dictionary .................................................................................24, 26




                                                                       ix
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 11 of 54




                                       INTRODUCTION

       Plaintiffs brought this action for declaratory and injunctive relief against the Trump

Administration’s unsupported and unlawful actions that incorrectly designated Xiaomi

Corporation (“Xiaomi”) as a “Communist Chinese military company” under Section 1237 of the

National Defense Authorization Act for Fiscal Year 1999 (NDAA FY99), Pub. L. 105-261, 112

Stat. 2160 (Oct. 17, 1998) (as amended) (“Section 1237”). That Designation means that U.S.

persons are prohibited from purchasing, and ultimately from possessing, Xiaomi’s publicly traded

securities and derivatives of such securities. Plaintiffs now seek a preliminary injunction against

the Designation and the enforcement against Xiaomi of these Restrictions, which otherwise will

begin to take effect at 9:30 a.m. on March 15, 2021.

       Xiaomi is not a “Communist Chinese military company” (“CCMC”), for purposes of

Section 1237 or otherwise. It is a consumer electronics company that offers a broad range of

consumer products designed for civilian and commercial use. It is publicly traded on the Hong

Kong Stock Exchange, widely held, and effectively controlled by two of its co-founders, Lei Jun

and Plaintiff Bin Lin, who serve as Chairman and Vice Chairman of the company’s board. Lei

Jun and Bin Lin are veteran tech-industry executives, not members of China’s state security

services or military forces. They occupy senior management positions within the company and

collectively own more than one-third of the company’s shares, with approximately three-quarters

of the company’s voting rights. Only Lei Jun and Bin Lin, their co-founders, and a handful of

non-Chinese institutional investors own more than one percent of Xiaomi’s shares.

       It thus was a complete surprise to Xiaomi, its employees, and its shareholders when, on

January 14, 2021, without prior notice or explanation, the Trump Administration’s Department of

Defense designated Xiaomi as a CCMC. That Designation placed Xiaomi under the Restrictions




                                                1
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 12 of 54




imposed by an executive order issued by the Trump Administration, which forbids U.S. persons—

including the individual Plaintiffs here—from purchasing publicly traded Xiaomi securities or

derivatives of those securities as of March 15, 2021, and requires them to divest their holdings by

January 14, 2022.1 Beginning on March 15, 2021, these Restrictions will largely cut off Xiaomi’s

access to new investment from U.S. capital markets, depriving the company of funds to pursue

research and development and to acquire other businesses, and will force the individual Plaintiffs

to sell their Xiaomi Securities and prohibit them from receiving compensation in the form of

Xiaomi shares or options in the future.

       The Department of Defense’s Designation and the application of those Restrictions to

Xiaomi violate the Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”), Section 1237,

and the Due Process Clause of the Fifth Amendment to the U.S. Constitution. The Designation is

arbitrary, capricious, and contrary to law, in violation of the APA, because it is wholly

unexplained, unsupported by evidence—let alone “substantial evidence”—and necessarily runs

counter to any accurate information before the agency. See infra pp. 16–21. The Designation also

exceeds the agency’s statutory authority under Section 1237 because Xiaomi does not satisfy the

statutory requirements for the Department of Defense to exercise its authority to designate an entity

as a CCMC. See infra pp. 22–26. And Plaintiffs were denied due process by the Designation and

consequent application of the Restrictions to the company without prior notice of the basis for the

Designation, any opportunity to be heard and challenge the Designation before the agency, or

access to the evidence on which agency relied. See infra pp. 26–33. Accordingly, Plaintiffs—

1
 This memorandum refers to the Department of Defense’s January 14, 2021 designation of Xiaomi
as a CCMC purportedly under Section 1237 as the “Designation”; to the restrictions that the
November 12, 2020 and January 13, 2021 executive orders impose on transactions in, or
possession of, CCMC publicly traded securities and derivatives of such securities (collectively,
“Securities”) as the “Restrictions”; and to the Trump Administration’s November 12 and January
13 executive orders as the “Executive Orders.”


                                                 2
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 13 of 54




Xiaomi and three individual U.S. citizens who are employed by Xiaomi and own Xiaomi

Securities—are likely to succeed on the merits of their claims.

       Plaintiffs also satisfy the other requirements for injunctive relief:      They will suffer

irreparable harm if the Designation and Restrictions are not preliminarily enjoined by their March

15 effective date, and the balance of equities and public interest favor enjoining application of

Defendants’ unlawful and unconstitutional actions until Plaintiffs’ challenges can be adjudicated,

particularly because Defendants will suffer no harm from the temporary delay of the

implementation and enforcement of the Designation and Restrictions as applied to Xiaomi.

       Plaintiffs do not challenge here the Department of Defense’s authority to designate CCMCs

under Section 1237 as a general matter, nor to impose sanctions on entities lawfully designated

pursuant to that statutory authority. Plaintiffs challenge Defendants’ designation of Xiaomi as

unlawful, however, because it did not accord with the APA, Section 1237, or the Due Process

Clause. Had Defendants complied with those requirements, there would be no basis for such a

designation of Xiaomi. Accordingly, this Court should enjoin implementation and enforcement of

the Designation, as well as the Restrictions as applied to Xiaomi, until Plaintiffs’ claims are

adjudicated on the merits.2




2
 In the alternative, Plaintiffs ask this Court to enter a stay under the APA, 5 U.S.C. § 705, of the
Designation and implementation of the Restrictions against Xiaomi until such time as this Court
can adjudicate Plaintiffs’ challenges on the merits. “The factors governing issuance of a
preliminary injunction also govern issuance of a § 705 stay.” District of Columbia v. U.S. Dep’t
of Agric., 444 F. Supp. 3d 1, 15 (D.D.C. 2020).



                                                 3
       Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 14 of 54



                                  STATEMENT OF FACTS

       A.      Xiaomi Is a Consumer Electronics Company with Extensive Ties to the United
               States.

       Xiaomi was founded in 2010 by two engineers who shared the goal of making a better

smartphone: entrepreneur and investor Lei Jun and veteran tech executive Bin Lin.3 Decl. of Bin

Lin (“Bin Lin Decl.”) ¶ 1. Lei Jun is Xiaomi’s CEO, Chairman of Xiaomi’s Board of Directors,

and largest shareholder. Id. ¶¶ 17–19. Bin Lin is Vice Chairman of Xiaomi’s Board and the

company’s second-largest shareholder. Id. ¶¶ 2, 17. Since the founding of the company, Bin Lin,

together with Lei Jun, has been responsible for making important strategic decisions for the

company and overseeing its day-to-day management. Id. ¶ 2.

       Due both to Xiaomi’s commitment to providing high-quality and user-friendly products at

attainable prices, and to substantial investments by internationally recognized venture capital

firms, Xiaomi has grown rapidly. Id. ¶¶ 5, 15. Within two years of its founding, Xiaomi generated

over a billion dollars in annual revenue. Decl. of Megan A. Crowley (“Crowley Decl.”) Ex. A at

7. Now—scarcely a decade after its founding—the company is publicly traded on the Hong Kong

Stock Exchange, generated approximately $29.5 billion in revenue (as of 2019), and as of January

13, 2021, had a market capitalization of approximately $106 billion. Bin Lin Decl. ¶ ¶ 4, 16, 30.4

       Xiaomi is now the third-largest smartphone manufacturer in the world by volume, shipping

more than 40 million phones in the last quarter of 2020 alone. Id. ¶ 5. Smartphones remain

Xiaomi’s largest business line, responsible for over 60 percent of the company’s total revenue for



3
  Lei Jun is identified using his last name followed by his given name. All other individuals
referenced in this memorandum are identified using their first names followed by their given
names.
4
  See also Xiaomi Corp. (1810.HK), Yahoo Finance, https://finance.yahoo.com/quote/1810.HK/
(last accessed Feb. 16, 2021) (stating that as of February 16, 2021, Xiaomi had a market
capitalization of approximately HKD 744 billion, or $96 billion).


                                                4
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 15 of 54




the nine months ending on September 30, 2020. Id. But Xiaomi has grown well beyond

smartphones, and now also offers a large set of consumer lifestyle electronics (also known as

“Internet of Things” or “IoT”) products, such as smart televisions, smart speakers, and household

appliances such as air purifiers, rice cookers, and robot vacuums, as well as laptop and tablet

computers, smart watches, wristbands, powerbanks, and electric scooters. Id.; see also Xiaomi

Home Page (product catalog), https://xiaomi-mi.com/ (last visited Feb. 16, 2021). In addition to

this extensive line of consumer hardware products, Xiaomi also offers its users a wide range of

internet services in China, including content, entertainment, financial services, and productivity

tools. Bin Lin Decl. ¶ 5. Xiaomi’s offerings are diverse and expanding, and all of these products

and services are designed for civilian and commercial use: Xiaomi does not design or manufacture

any products for military use. Id. ¶ 23.

       Xiaomi is a multinational corporation. More than 50 percent of Xiaomi’s revenue now

comes from sales outside mainland China. Id. ¶ 4. Indeed, Xiaomi is among the top four

smartphone manufacturers not only in China, where it is headquartered, but also worldwide, and

has been the number-one seller of smartphones in India for nearly every quarter since late 2017.5

       Xiaomi’s multinational business includes extensive ties to the United States, including two

subsidiaries organized and headquartered in the United States, and an office located in this country.

Bin Lin Decl. ¶ 11. In the past three years, Xiaomi has spent more than $16.2 billion on

components, and more than $1.6 billion on software and services, supplied by U.S. corporations.

Id. ¶ 10. Xiaomi has had an especially productive partnership with the U.S. technology firm




5
 See, e.g., Counterpoint Res., Global Smartphone Market Share: By Quarter (Nov. 20, 2020),
https://www.counterpointresearch.com/global-smartphone-share/; Counterpoint Res., India
Smartphone        Market       Share:      By      Quarter      (Nov.      17,      2020),
https://www.counterpointresearch.com/india-smartphone-share/.


                                                 5
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 16 of 54




Qualcomm, which was one of the company’s earliest investors and has supplied the Snapdragon

chipsets that have powered each premium smartphone Xiaomi has launched since 2011. Id. ¶¶ 10,

15. Although the company does not distribute smartphones in the United States, it sold more than

$300 million in other consumer electronics products in this country between 2016 and 2020. Id.

¶ 11. Xiaomi has raised billions from U.S. investors, in the process generating hundreds of

millions in fees for U.S.-headquartered financial institutions. Id. ¶ 12. For example, in 2020 alone,

Xiaomi raised approximately $4.5 billion through the issuance of U.S.-dollar-denominated bonds,

convertible bonds, and common shares. Approximately one-third of this total was placed with

U.S. investors. Id. These and similar transactions generated over $120 million in fees in the past

three years for the U.S. financial institutions that underwrote them. Id.

       Xiaomi’s ties with the United States are also personal. Plaintiff Bin Lin is a citizen of the

United States. Id. ¶ 1. Before co-founding Xiaomi, he studied in the United States and worked

for more than a decade for several large U.S. tech firms. Id. The other individual Plaintiffs in this

suit are also citizens of the United States. See Decl. of Peng Lin (“Peng Lin Decl.”) ¶ 1; Decl. of

Stephen Sean English (“English Decl.”) ¶ 1. One of Xiaomi’s independent non-executive directors

is also a U.S. citizen. Bin Lin Decl. ¶ 18.

       B.      Xiaomi Is Widely Held, Publicly Traded, and Ultimately Controlled by Its
               Founders.

       Xiaomi’s rapid growth has been fueled by substantial investments of private capital from

both inside and outside China. Having launched in 2010 with $10.25 million in seed capital,

Xiaomi proceeded to raise approximately $1.5 billion in private capital in the following eight

years. Id. ¶ 15. In 2018, Xiaomi went public, listing shares on the Hong Kong Stock Exchange,

and raising approximately $3.5 billion. Id. ¶ 16. As the following table of its top ten shareholders

illustrates, Xiaomi is widely held, with more than half the shares in the company owned by



                                                 6
           Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 17 of 54




investors that each own one percent of the company or less:

       No.       Shareholder          Percent6            Country          Ordinary Shares7

       1            Lei Jun            26.5%               China              6,670,539,142

       2           Bin Lin              9.5%                U.S.              2,399,920,210

       3        BlackRock, Inc.         3.0%                U.S.               762,394,928
                  Feng Hong
       4                                2.2%               China               561,572,709
                 (co-founder)
                The Vanguard
       5                                1.9%                U.S.               468,527,146
                  Group, Inc.
               Kong-Kat Wong
       6                                1.8%               China               463,484,897
                 (co-founder)
                  State Street
       7                                1.6%                U.S.               392,022,535
                 Corporation
       8        HSBC Holdings           1.2%                U.K.               295,623,962

       9             GIC                1.0%             Singapore             260,769,810
                 Wanqiang Li
       10                               1.0%               China               240,928,340
                 (co-founder)
                Total (Top Ten         49.7%                                 12,515,783,679
                Shareholders)

See Bin Lin Decl. ¶ 17 (table based on third-party analysis as of December 31, 2020).

        As this chart also illustrates, following the IPO, the largest ownership interests in Xiaomi

are held by its co-founders, a handful of U.S. and U.K. financial institutions, and a Singaporean

sovereign wealth fund. None of these individuals or entities are affiliated with China’s military,

police, or intelligence services.




6, 7
   The “Percent” and “Total Shares” columns refer to all Xiaomi ordinary shares, including both
the Class A shares with enhanced voting rights, which are owned exclusively by Lei Jun and Bin
Lin, and the Class B shares owned by all other equity investors. In addition to his Class A Shares,
Bin Lin owns approximately 1.9 billion Class B shares, amounting to 9.4% of the company’s
Class B shares. Bin Lin Decl. ¶ 14.




                                                 7
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 18 of 54




       Although Xiaomi is publicly traded, it is governed by its management and board, and

ultimately controlled by its founders. Bin Lin Decl. ¶ 13. When Lei Jun and Bin Lin founded

Xiaomi in 2010, they designed a weighted-voting-rights structure to ensure that they would retain

full control over the company. Id.8 Under that structure, Lei Jun and Bin Lin acquired Class A

shares that, upon Xiaomi’s IPO, would carry ten times the voting rights per share as the Class B

shares, which were the only shares issued to other investors. Id. Lei Jun and Bin Lin were the

only recipients of the Class A shares, only Class B shares were listed in the IPO, and Xiaomi’s

American Depositary Receipts (“ADRs”) track only the Class B shares. Id. No Class A shares

have been issued since the IPO. These enhanced voting rights effectively exist only so long as Lei

Jun or Bin Lin hold these shares; if Class A shares are transferred to third parties (subject to narrow

exceptions) they are irrevocably converted to Class B shares. Id.; Crowley Decl. Ex. A at III-2 to

III-3. As a result of this structure, Lei Jun and Bin Lin control more than 75 percent of the

company’s voting rights while owning approximately 36 percent of the company’s total shares

outstanding. Id. ¶ 14. They exercise control over Xiaomi to the maximum extent permitted by the

rules of the Hong Kong Stock Exchange, where the company is listed. Id. ¶¶ 14, 19; see also

HKEX, Consolidated Main Board Listing Rules at 8A-1 to 8A-13, available at https://en-

rules.hkex.com.hk/sites/default/files/net_file_store/consol_mb.pdf.

       Lei Jun and Bin Lin are also principally responsible for Xiaomi’s oversight and operations.

Xiaomi is overseen by a distinguished board of seven directors, three of whom are independent,



8
 Weighted-voting-rights structures are not uncommon among publicly traded U.S. corporations,
and have been adopted as part of numerous technology-sector IPOs in recent years. See Dual Class
Companies      List,     Council     of     Institutional    Invs.,    https://www.cii.org/files/
FINAL%20format%20Dual%20Class%20List%209-27-19.pdf (updated Sept. 2019) (listing
among the many companies that have adopted dual or multiple share classes Alphabet (formerly
known as Google), Berkshire Hathaway, Facebook, The New York Times Company, UPS, and
Zoom).


                                                  8
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 19 of 54




and two of whom are U.S. citizens. Bin Lin Decl. ¶ 18. Lei Jun and Bin Lin are, as noted,

Chairman and Vice Chairman, respectively, of Xiaomi’s board. Xiaomi’s business is overseen on

a day-to-day basis by an accomplished senior management team which Lei Jun is CEO and Bin

Lin is a senior member. Id. ¶ 19.

       C.      The Department of Defense Designated Xiaomi a Communist Chinese Military
               Company (CCMC) In the Final Three Full Working Days of the Trump
               Administration, Without Notice or Explanation.

               1.      Congress Provided for the Designation of Certain Entities as CCMCs
                       Pursuant to a Statutory Process and Criteria.

       Enacted in 1998, Section 1237 directed the Secretary of Defense, in consultation with the

Attorney General, the Director of the Federal Bureau of Investigation, and the Director of Central

Intelligence,9 to identify “[CCMCs] that operate directly or indirectly in the United States or any

of its territories or possessions.” NDAA FY99 § 1237(b). Section 1237 defines CCMC as a person

that “(i) is owned or controlled by, or affiliated with, the People’s Liberation Army or a ministry

of the government of the People’s Republic of China or that is owned or controlled by an entity

affiliated with the defense industrial base of the People’s Republic of China; and (ii) is engaged in

providing commercial services, manufacturing, producing, or exporting,” id. § 1237(b)(4)(B), or

persons identified in certain intelligence publications, id. § 1237(b)(4)(A). The statute further

defines “People’s Liberation Army” as “the land, naval, and air military services, the police, and

the intelligence services of the Communist Government of the People’s Republic of China, and

any member of any such service or of such police.” Id. § 1237(c).



9
  Section 1081 of the Intelligence Reform and Terrorism Prevention Act of 2004, Pub. L. 108-458,
118 Stat. 3638, 3696, provided that statutory references to the “Director of Central Intelligence”
should be deemed to refer to the newly created Director of National Intelligence, when referring
to the Director of Central Intelligence “in the Director’s capacity as the head of the intelligence
community” and to the Director of the Central Intelligence Agency when referring to the Director
“in the Director’s capacity as the head of the Central Intelligence Agency.”


                                                 9
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 20 of 54




       Section 1237 required the Secretary of Defense to create a list of CCMCs by no later than

March 1, 2001, and to update the list annually, but the Department of Defense published its first

list of designated CCMCs on June 24, 2020. See Crowley Decl. Exs. B, C. That list designated

20 companies without supporting material or explanation as to why those companies had been so

designated. See Crowley Decl. Ex. C. On August 28, 2020, and again on December 3, 2020, the

Department published two more lists designating 15 more companies as CCMCs. See Crowley

Decl. Exs. D, E, F. Those lists, too, were unaccompanied by explanation or information about the

basis for the Government’s designation as CCMCs.

               2.     Under an Executive Order Issued by President Trump, Transactions by U.S.
                      Persons in the Securities of a Designated CCMC Are Restricted.

       Because of an executive order issued by then-President Trump in November 2020 and

amended in January 2021, the effect of the Defense Department’s designation of CCMCs is to

subject such companies to a sanctions regime that severely restricts U.S. persons—including U.S.

citizens and residents and entities organized under U.S. law—from transacting in the Securities of

the companies so designated. See Exec. Order No. 13959, 85 Fed. Reg. 73185 (Nov. 12, 2020),

amended by Exec. Order No. 13974, 86 Fed. Reg. 4875 (Jan. 13, 2021).

       The November 12, 2020 Order. In the November Order, the President declared a national

emergency with respect to “the [People’s Republic of China’s (‘PRC’s)] military-industrial

complex, by directly supporting the efforts of the PRC’s military, intelligence, and other security

apparatuses” and invoked the International Emergency Economic Powers Act (50 U.S.C. § 1701

et seq.) (“IEEPA”), the National Emergencies Act (50 U.S.C. § 1601 et seq.), and 3 U.S.C. § 301.

Exec. Order No. 13959, Preamble. Among other things, the executive order restricts, beginning

60 days after a company is designated as a CCMC, any U.S. person from transacting in the

Securities of that company, except for transactions undertaken within the year after designation



                                                10
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 21 of 54




solely to divest from Securities held within this initial 60-day period. Id. § 1(a)(ii), (c). The

executive order also purports to apply notwithstanding any prior contract, to prohibit actual or

attempted transactions by U.S. persons or within the United States to evade these prohibitions, and

to prohibit conspiracies formed to violate these prohibitions. Id. §§ 1(d), (2). The order defines

“Communist Chinese military company” to include “any person that the Secretary of Defense, in

consultation with the Secretary of the Treasury, determines is a Communist Chinese military

company operating directly or indirectly in the United States or in any of its territories or

possessions and therefore lists as such pursuant to section 1237 of Public Law 105-261, as

amended . . . .” Id. § 4(a)(ii).

        The January 13, 2021 Order. Then-President Trump subsequently issued Executive Order

No. 13974, which amended the November Order in certain respects. Among other things, the

January Order provides that U.S. persons are forbidden from possessing the Securities of a CCMC

more than 365 days after the designation of that CCMC. Exec. Order No. 13974, § 1. It also

revised the definition of “Communist Chinese military company” under Section 4(a)(ii) of the

November Order to refer to “any person that the Secretary of Defense, in consultation with the

Secretary of the Treasury, publicly lists as a Communist Chinese military company meeting the

criteria in section 1237(b)(4)(B) of Public Law 105-261, as amended . . . , and that operates

directly or indirectly in the United States or any of its possessions,” and specified that “[t]his

definition shall apply regardless of whether the Secretary of Defense must provide the report

described in section 1237(b)(2) of Public Law 105-261, as amended . . . .” Id. § 2.

                3.      After the Issuance of the Executive Order, and Only Three Working Days
                        Before the End of the Trump Administration, the Department of Defense,
                        Without Notice or Explanation, Designated Xiaomi a CCMC.

        As noted, on January 14, 2021, the Trump Department of Defense—presumably after

consultation with the Department of the Treasury, as required by the Executive Orders—published


                                                11
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 22 of 54




another list of CCMCs, entitled “Qualifying Entities Prepared in Response to Section 1237 of the

National Defense Authorization Act for Fiscal Year 1999 (PUBLIC LAW 105-261)” and subtitled

“Tranche 5.” Crowley Decl. Ex. H. The list designated Xiaomi as a CCMC. Neither the list nor

any accompanying document—including the Department of Defense’s press release that

accompanied the list—explained why Xiaomi or any other company had been designated as a

CCMC or provided any material supporting that decision. See Crowley Decl. Ex. I. As a result

of Xiaomi’s Designation, U.S. persons will be restricted from transacting in (other than to divest

from) Xiaomi Securities as of March 15, 2021, and will be restricted from possessing these

Securities as of January 14, 2022.

               4.     The Department of Defense’s Designation of Xiaomi as a CCMC Is
                      Causing and Will Continue to Cause Plaintiffs Irreparable Harm.

        The Department of Defense’s Designation of Xiaomi as a CCMC came as a surprise to the

company, its senior management team, and its shareholders. Bin Lin Decl. ¶¶ 20, 30 fig. As

discussed above, Xiaomi is a consumer electronics company that is publicly traded, widely held,

governed by its management and board, controlled by its founders, and not affiliated with the

People’s Liberation Army or any Chinese government ministry. See supra pp. 4–9. There is no

valid reason for Xiaomi to have been designated as a CCMC. Moreover, Xiaomi did not receive

any prior notice that the Department of Defense was considering designating it as a CCMC, or any

material on which the agency relied. After the Designation was announced, Xiaomi’s shares traded

down more than 10 percent from their price at the close of the previous day of trading. Xiaomi

Corp.               (Historical               Data),               Yahoo                 Finance,

https://finance.yahoo.com/quote/1810.HK/history?p=1810.HK (last visited Feb. 16, 2021). As of

February 16, 2021, Xiaomi’s share price remains down 9.5 percent from its price at the close of

the trading day preceding the announcement of the Designation. Id.



                                               12
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 23 of 54




       As explained in greater detail below and in the declarations of the individual Plaintiffs, the

Department of Defense’s Designation and the impending implementation of the Restrictions have

already taken a significant toll on Xiaomi and its shareholders, and these adverse effects will

escalate the longer the Designation stands and as the Restrictions are implemented.

       Xiaomi competes in highly competitive global markets characterized by rapid and

continuous innovation in products and features. See Crowley Decl. Ex. A at 48. To remain

competitive, Xiaomi must invest significantly and constantly in research and development and in

other growth opportunities. Id. To finance these investments, Xiaomi has repeatedly sought

outside equity and debt investments, including from investors in the United States, which has the

world’s deepest and most liquid capital markets. Bin Lin Decl. ¶¶ 12, 26. By effectively cutting

Xiaomi off from U.S. investors and making Xiaomi’s publicly traded shares unattractive or even

useless as consideration for acquiring companies or other assets from U.S. persons, the

Designation and Restrictions will dramatically impair Xiaomi’s value as a company—as they have

already done. See supra p. 12; infra pp. 35–40. They also will irreversibly damage Xiaomi’s

relationships with U.S. financial institutions—which are critical to Xiaomi’s ability to raise the

capital it needs to compete, and which provide Xiaomi with ideas about potential acquisitions and

advice about the financial products Xiaomi could use to most efficiently raise capital. Indeed, the

Designation and Restrictions have already caused Xiaomi to miss at least one strategic acquisition

opportunity. Bin Lin Decl. ¶¶ 27–28.

       In addition, the Designation and Restrictions have impaired, and unless enjoined will

continue to impair, Xiaomi’s efforts to recruit and retain talented employees. Xiaomi’s success

depends on its ability to recruit software engineers and other technical employees, who are highly

in-demand among technology-oriented companies. Id. ¶ 33. Xiaomi accordingly competes




                                                13
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 24 of 54




fiercely to recruit these employees, and Bin Lin and other senior executives spend a significant

percentage of their time recruiting senior engineers and scientists. See id. By hamstringing

Xiaomi’s future prospects, the Designation and Restrictions have also undercut the company’s

ability to recruit top talent—indeed, two potential senior recruits have stated that they are unwilling

to join Xiaomi because of the measures the U.S. Government has taken against the company. Id.

       The Designation and Restrictions have damaged and will continue to damage Xiaomi’s

reputation and goodwill in the marketplace more generally. See id. ¶ 32. If the Designation

remains in place and the Restrictions are implemented, Plaintiffs will suffer harm that cannot be

fully redressed even if the Designation and Restrictions are eventually set aside.

       D.      Plaintiffs Sued to Invalidate the Unlawful Designation and Restrictions and
               Move for a Preliminary Injunction Before the March 15, 2021 Effective Date.

       Already suffering the immediate adverse effects of the Department of Defense’s

Designation, and facing the imminent implementation of the Restrictions against non-divestiture

transactions in Xiaomi Securities by U.S. persons, Xiaomi filed this action on January 29, 2021,

challenging the Designation under the APA and Fifth Amendment and naming as defendants the

Department of Defense, the Department of the Treasury, and the Secretaries of Defense and the

Treasury. Compl., ECF No. 1. Xiaomi amended its complaint to add the individual Plaintiffs and

the President in his official capacity, and to add further legal claims challenging both the

Designation and, on an as-applied basis, the Restrictions. Am. Compl., ECF No. 9.

       The Government has not yet provided any administrative record to support the Designation

and application of the Restrictions to Xiaomi. See Unopposed Scheduling Motion, ECF No. 13.

Plaintiffs’ counsel acted promptly to request the administrative record from the Government. On

the day Plaintiffs filed suit, their counsel contacted the Department of Justice to meet and confer

about scheduling, including briefing of Plaintiffs’ preliminary injunction motion. On February 5,



                                                  14
          Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 25 of 54




counsel for the Government responded to Plaintiffs’ counsel, informing Plaintiffs’ counsel that the

Government was in the process of compiling an administrative record and hoped to be in a better

position to discuss scheduling in the following week. Five days later, Defendants’ counsel stated

via email that he remained unsure as to when Defendants would be able to provide the

administrative record. Id. With March 15 approaching, Plaintiffs explained to the Government

that they would need to file their preliminary injunction motion without the benefit of the

administrative record to prevent the irreparable harm that they will otherwise suffer on March 15,

2021. Plaintiffs reached agreement with the Government on a briefing schedule, which was

subsequently approved by the Court. ECF No. 14. As of the filing of this brief, Defendants have

not produced an administrative record.

                                            ARGUMENT

          The Court should enter a preliminary injunction against implementation or enforcement of

the Designation or the Restrictions as applied to Xiaomi. Plaintiffs have established that (1) there

is a likelihood of success on the merits of their claims, (2) they will face irreparable harm in the

absence of preliminary relief, (3) the balance of equities favors preliminary relief, and (4) an

injunction is in the public interest. See, e.g., Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20

(2008).

I.        Plaintiffs Are Likely to Succeed on the Merits of Their Claims That the Designation
          and Restrictions Are Unlawful and Unconstitutional.

          “[T]he first and most important factor” in the Winter analysis—“whether [Plaintiffs] have

established a likelihood of success on the merits”—weighs heavily in Plaintiffs’ favor. See

Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014). Plaintiffs are highly likely to succeed

on the merits of their claims that the Department of Defense’s out-of-the-blue, unexplained,

unsupported, and baseless Designation was not the product of the reasoned agency decision-



                                                  15
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 26 of 54




making required by the APA, exceeded the authority vested in the Department of Defense by

Section 1237, and failed to abide by constitutional due process requirements.10

       A.      Plaintiffs Are Likely to Succeed on the Merits of Their Claim that the
               Designation Was Arbitrary, Capricious, and Contrary to Law in Violation of
               the APA.

       In evaluating agency actions under the “arbitrary and capricious” standard, courts “must

consider whether the [agency’s] decision was based on a consideration of the relevant factors and

whether there has been a clear error of judgment.” Marsh v. Or. Nat. Res. Council, 490 U.S. 360,

378 (1989) (quotations omitted). An agency acts arbitrarily, capriciously, and contrary to law, in

violation of the APA, when it “relie[s] on factors which Congress has not intended it to consider,

entirely fail[s] to consider an important aspect of the problem, offer[s] an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not

be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Moreover, when review

of an agency’s action is “bound up with a record-based factual conclusion,” the reviewing court

must determine whether that conclusion “is supported by substantial evidence.” Dickinson v.

Zurko, 527 U.S. 150, 164 (1999) (quotations omitted).

       The Trump Department of Defense’s Designation of Xiaomi was arbitrary, capricious, and

contrary to law because the agency failed to provide a reasonable explanation for its action, and



10
   The Amended Complaint also alleges that the Department of Defense violated Section 1237 by
failing to comply with Section 1237(b)(3)’s consultation requirement. Am. Compl. ¶¶ 62–68.
Although the mismatch between the executive order (which requires consultation only with the
Treasury Department) and Section 1237 (which requires consultation with specified intelligence
and law enforcement agencies) suggests that the Department of Defense failed to satisfy its
statutory consultation obligations, Defendants have yet to produce an administrative record that
would shed light on the extent (if any) to which they consulted these other agencies prior to
designating Xiaomi a CCMC. Plaintiffs reserve the right to supplement this brief once Defendants
file an administrative record.


                                                16
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 27 of 54




made a designation that was not supported by substantial evidence and runs counter to any accurate

information before the agency.

               1.      The Department of Defense’s Designation of Xiaomi as a CCMC under
                       Section 1237 is Reviewable under the APA.

       The Designation is reviewable under the APA as final agency action for which there is no

other remedy, 5 U.S.C. § 704, and which has not been committed by law to agency discretion, id.

§ 701(a)(2). See TikTok Inc. v. Trump, No. 20-CV-2658 (CJN), 2020 WL 7233557, at *13 (D.D.C.

Dec. 7, 2020) (“The D.C. Circuit has already held that the decision-making process an agency

employs to effectuate an executive order issued under IEEPA is subject to arbitrary and capricious

review.” (citing Holy Land Found. for Relief & Dev. v. Ashcroft, 333 F.3d 156, 162 (D.C. Cir.

2003))).

       The Designation is uncontestably “final agency action.” It “marks the consummation” of

the Department of Defense’s decision-making process with respect to whether to designate Xiaomi

as a CCMC under Section 1237, and it is not of “merely tentative or interlocutory nature.” See

Bennett v. Spear, 520 U.S. 154, 178 (1997).           Moreover, “direct and appreciable” “legal

consequences will flow” from the Designation, which made Xiaomi and its U.S. person

shareholders subject to the Restrictions. See id.; cf. Parsons v. Dep’t of Justice, 878 F.3d 162, 169

(6th Cir. 2017) (no final agency action where gang designation did not “impose liability, determine

legal rights or obligations, or mandate, bind, or limit other government actors”). Section 1237

does not provide a separate means for judicial review of designation actions, so such agency

actions are presumptively reviewable under the APA. See, e.g., Weyerhaeuser Co. v. U.S. Fish &

Wildlife Serv., 139 S. Ct. 361, 370 (2018) (noting existence of “strong presumption favoring

judicial review of administrative action” (quotation marks omitted)).

       Congress did not commit Section 1237 Designation authority to unreviewable agency



                                                 17
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 28 of 54




discretion as a matter of law. The APA exempts agency action from judicial review under 5 U.S.C.

§ 701(a)(2) only in “very narrow, . . . rare instances where ‘statutes are drawn in such broad terms

that in a given case there is no law to apply.’” Citizens to Preserve Overton Park, Inc. v. Volpe,

401 U.S. 402, 410 (1971), overruled on other grounds by Califano v. Sanders, 430 U.S. 99, 105

(1997). Section 1237 does not leave a designation as a CCMC to agency discretion. Section 1237

specifies in detail the criteria that must be met by an entity before the Department of Defense is

authorized to exercise its designation authority. See NDAA FY99 § 1237(b)(4), (c). Section 1237

thus supplies clear legal standards for review of Plaintiffs’ substantive challenges to the

Designation, and the APA and Fifth Amendment supply the law to apply in review of Plaintiffs’

arbitrary-and-capricious and due process claims. CAIR v. Dep’t of Justice, 264 F. Supp. 2d 14, 23

(D.D.C. 2003) (“familiar APA concepts” themselves “provide the core standards for judicial

review”); Nat’l Fed’n of Fed. Empls. v. Weinberger, 818 F.2d 935, 941 n.11 (D.C. Cir. 1987)

(“[T]here is clearly ‘law to apply’—the Constitution.”). Nor is the Department of Defense’s

Designation of Xiaomi as a CCMC the kind of agency action “that courts have traditionally

regarded as unreviewable.” Weyerhaeuser, 139 S. Ct. at 370. Instead, this case “involves the sort

of routine dispute that federal courts regularly review: An agency issues an order affecting the

rights of a private party, and the private party objects that the agency did not properly justify its

determination under a standard set forth in the statute.” Id.; see also, e.g., Olenga v. Gacki, No.

19-CV-1135 (RDM), 2020 WL 7024206, at *13 (D.D.C. Nov. 30, 2020) (reviewing Department

of the Treasury’s Office of Foreign Assets Control designation decision under the APA).

               2.      The Department of Defense Fails to Explain Its Decision.

       Plaintiffs are likely to succeed on the merits of their APA claim because the Designation

is entirely unexplained. The Designation document issued by the Department of Defense contains

nothing other than a title and a list of nine business names. Crowley Decl. Ex. H. Neither the


                                                 18
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 29 of 54




document itself, the Department of Defense’s press release announcing the Designation, nor any

other publically available materials, offer the slightest rationale for why the Department of Defense

mistakenly believed that Xiaomi could be designated as a CCMC. See Crowley Decl. Ex. I.

       The APA does not tolerate such unexplained agency action. “It is axiomatic that the APA

requires an agency to explain its basis for a decision.” Physicians for Social Responsibility v.

Wheeler, 956 F.3d 634, 644 (D.C. Cir. 2020); see SEC v. Chenery, 318 U.S. 80, 94 (1943)

(“[C]ourts cannot exercise their duty of review unless they are advised of the considerations

underlying the action under review.”). When an agency has not “articulate[d] a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made,” State Farm, 463 U.S. at 43 (internal quotation marks omitted), courts routinely conclude

that the agency’s action is arbitrary and capricious. See, e.g., County of Los Angeles v. Shalala,

192 F.3d 1005, 1021 (D.C. Cir. 1999) (where “the agency has failed to provide a reasoned

explanation . . . [the court] must undo its action”).

       There is no national-security exception to this fundamental principle of APA review, and

courts have refused to countenance action by national security agencies that fall short of the APA’s

reasoned-explanation requirement. See Kirwa v. Dep’t of Def., 285 F. Supp. 3d 257, 270 (D.D.C.

2018) (APA review “involves more than a court rubberstamping action based on bare declarations

from the agency amounting to ‘trust us, we had good national security reasons for what we did’”).

For example, in Epsilon Electronics, Inc. v. Department of Treasury, the D.C. Circuit ordered the

Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) to reconsider its

decision that certain shipments by an audio equipment manufacturer violated trade sanctions

imposed against Iran. 857 F.3d 913, 927–30 (D.C. Cir. 2017). Although substantial evidence

supported OFAC’s determination that the manufacturer’s earlier shipments were unlawful, the




                                                  19
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 30 of 54




record also contained evidence suggesting that the manufacturer had thought the later shipments

would be sold in Dubai, not resold to Iran. Id. at 927–28. Because “OFAC failed to explain

adequately why it discounted that evidence,” the D.C. Circuit concluded that the agency’s decision

was arbitrary and capricious. Id. at 927. Here, of course, the Department of Defense has not

simply failed to explain an important aspect of its action, but has failed to provide any rationale

whatsoever for its action against Xiaomi, a consumer electronics company. Although a court may

“uphold a decision of less than ideal clarity if the agency’s path may reasonably be discerned,”

State Farm, 463 U.S. at 43 (quotation marks omitted), “[w]here an agency ‘has failed . . . to explain

the path it has taken, [courts] have no choice but to remand for a reasoned explanation,” Dickson

v. Sec’y of Def., 68 F.3d 1396, 1407 (D.C. Cir. 1995) (quoting Tex Tin Corp. v. EPA, 935 F.2d

1321, 1324 (D.C. Cir. 1991)).

       Cases involving challenges to OFAC designations underscore the Designation’s

unlawfulness. Courts in this Circuit have repeatedly stated that OFAC designations are reviewable

under the “arbitrary and capricious” standard, which requires the agency to “articulate a

satisfactory explanation for its action.” See, e.g., Islamic Am. Relief Agency v. Gonzales, 477 F.3d

728, 732 (D.C. Cir. 2007); see also TikTok, 2020 WL 7233557, at *14 (reviewing IEEPA

prohibitions under arbitrary and capricious standard).11 No court appears ever to have sustained

an OFAC decision that—like the Designation—lacks any discernible rationale, let alone a

“satisfactory” or reasoned one. The absence of any articulated rationale for the Designation is


11
  See also Olenga, 2020 WL 7024206, at *13; Rakhimov v. Gacki, No. 19-CV-2554 (JEB), 2020
WL 1911561, at *5–6 (D.D.C. Apr. 20, 2020); Sulemane v. Mnuchin, No. CV 16-1822 (TJK),
2019 WL 77428, at *5 (D.D.C. Jan. 2, 2019); Joumaa v. Mnuchin, No. 17-CV-2780 (TJK), 2019
WL 1559453, at *7 (D.D.C. Apr. 10, 2019), aff’d, 798 F. App’x 667 (D.C. Cir. 2020); OKKO Bus.
PE v. Lew, 133 F. Supp. 3d 17, 26 (D.D.C. 2015); Zevallos v. Obama, 10 F. Supp. 3d 111, 118
(D.D.C. 2014), aff’d, 793 F.3d 106 (D.C. Cir. 2015); Kadi v. Geithner, 42 F. Supp. 3d 1, 9 (D.D.C.
2012); Zarmach Oil Servs., Inc. v. U.S. Dep’t of the Treasury, 750 F. Supp. 2d 150, 154 (D.D.C.
2010).


                                                 20
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 31 of 54




accordingly, by itself, reason to grant Plaintiffs’ motion and issue a preliminary injunction.

               3.      The Department of Defense’s Designation Is Not Supported by Substantial
                       Evidence and Is Necessarily Contrary to Any Accurate Information Before
                       the Agency.

       An agency action is not valid under the APA if the agency “rel[ies] on factors which

Congress has not intended [the agency] to consider,” “runs counter to the evidence before the

agency,” or is “so implausible that it could not be ascribed to a difference in view or the product

of agency expertise.” State Farm, 463 U.S. at 43. Moreover, the agency’s decision must be

supported by “substantial evidence.”         Dickinson, 527 U.S. at 164 (quotations omitted).

“Substantial evidence” is “enough evidence to justify, if the trial were to a jury, a refusal to direct

a verdict when the conclusion sought to be drawn is one of fact for the jury.” Defs. of Wildlife v.

Jewell, 815 F.3d 1, 9 (D.C. Cir. 2016) (quotations and citation omitted).

       Here, the Designation does not meet these baseline requirements. Although Defendants

have not yet produced an administrative record, on the basis of any valid record, the designation

of Xiaomi as a CCMC under Section 1237 is arbitrary and capricious and contrary to law because

it is not supported by substantial evidence, necessarily runs counter to any accurate information

before the agency, and is “so implausible that it could not be ascribed to a difference in view or

the product of agency expertise.” State Farm, 463 U.S. at 43. As explained more fully below,

Xiaomi is not owned or controlled by the People’s Liberation Army, a Chinese government

ministry, or an entity affiliated with China’s defense industrial base, and is not affiliated with the

Chinese army or a government ministry. See infra pp. 22–26. Therefore, the Designation of

Xiaomi as a CCMC under Section 1237 is arbitrary, capricious, and contrary to law, in violation

of the APA.




                                                  21
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 32 of 54




       B.      Plaintiffs Are Likely to Succeed on the Merits of Their Claim that the
               Designation Exceeded the Defense Department’s Authority Under Section
               1237 Because Xiaomi Does Not Meet The Criteria Required for Exercise of
               Such Authority.

       Plaintiffs are also likely to succeed on their claim that the Designation of Xiaomi as a

CCMC exceeds the Department of Defense’s authority because Xiaomi does not meet the Section

1237 criteria for an entity over which such authority can be exercised. Accordingly, whether the

Court evaluates this claim under the APA or as a non-statutory ultra vires claim, the Designation

of Xiaomi as a CCMC was in excess of the agency’s authority and therefore unlawful. See 5

U.S.C. § 706(2)(C) (a court must “set aside” an “agency action” under the APA that exceeds its

statutory “authority” or “limitations”); Mittleman v. Postal Reg. Comm’n, 757 F.3d 300, 307 (D.C.

Cir. 2014) (“even when ‘a plaintiff is unable to bring his case predicated on either a specific or

general statutory review provision, he may still be able to institute a non-statutory review action’”

(quoting Trudeau v. FTC, 456 F.3d 178, 189 (D.C. Cir. 2006))); Aid Ass’n for Lutherans v. U.S.

Postal Serv., 321 F.3d 1166, 1173 (D.C. Cir. 2003) (“the case law in this circuit is clear that judicial

review is available when an agency acts ultra vires”).

       Congress granted the Department of Defense authority to designate a company as a CCMC

under Section 1237 only if the company meets certain statutory criteria. In particular, Congress

provided, inter alia, that the company must be either “owned or controlled” by the People’s

Liberation Army, a ministry of the Chinese government, or an entity affiliated with the defense

industrial base of the Chinese government, or “affiliated with” the People’s Liberation Army or a

ministry of the Chinese government. NDAA FY99 § 1237(b)(4)(B)(i). For purposes of Section

1237, Congress provided that “People’s Liberation Army” includes “the land, naval, and air

military services, the police and the intelligence services, the police and the intelligence services

of the Communist Government of the People’s Republic of China,” as well as “any member of



                                                  22
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 33 of 54




such service or such police.” Id. § 1237(c). Here, because Xiaomi does not meet those criteria,

the Department of Defense did not have authority to designate the company as a CCMC.

       First, Xiaomi is not “owned or controlled” by any proscribed entity identified in Section

1237. “It is a fundamental canon of statutory construction that, unless otherwise defined, words

will be interpreted as taking their ordinary, contemporary, common meaning.” Sandifer v. U.S.

Steel Corp., 571 U.S. 220, 227 (2014) (quotation omitted). The common understanding of the

term “own” connotes a sense of proprietary or possessory interest that a shareholder in a large,

publicly traded corporation like Xiaomi lacks. See, e.g., Own, Oxford English Dictionary Online

(“To have or hold as one’s own; to have belonging to one, be the proprietor of, possess.”);

Ownership, Oxford English Dictionary Online (“The fact or state of being an owner;

proprietorship, dominion; legal right of possession.”); Own, Black’s Law Dictionary (11th ed.

2019 ) (“To rightfully have or possess as property; to have legal title to.”); see also Cooper

Industries, Ltd. v. Natl. Union Fire Ins. Co. of Pittsburgh, Pennsylvania, 876 F.3d 119, 129 (5th

Cir. 2017) (“A common dictionary definition of the verbal form of ‘own’ is to ‘have or possess

property . . . to have control over . . . . [T]he defining features of ‘ownership’ are ‘possession,

control, and dominion.’”) (first quoting The American Heritage Dictionary of the English

Language (5th ed. 2011), then quoting Twichel v. MIC Gen. Ins. Corp., 676 N.W.2d 616, 622

(2004)). Indeed, given that even Xiaomi’s largest shareholder, Lei Jun, owns fewer than 30 percent

of the total ordinary shares of the corporation, Bin Lin Decl. ¶ 17, it would be unreasonable to

conclude that any singular person or entity “owns” Xiaomi, let alone that Xiaomi is “owned” by

anyone holding one percent or fewer of its shares.

       Likewise, the common meaning of the word “control” indicates an ability to direct

Xiaomi’s actions. See Massachusetts Lobstermen’s Ass’n v. Ross, 349 F. Supp. 3d 48, 60 (D.D.C.




                                                23
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 34 of 54




2018) (citing Webster’s New International Dictionary to define “control” as “[t]o exercise

restraining or directing influence over; to dominate; regulate; hence, to hold from action; to curb;

subject; overpower”), aff’d, 945 F.3d 535 (D.C. Cir. 2019). Here, Xiaomi is overseen and

operated, respectively, by its experienced and commercially-oriented board of directors and senior

management team, subject to the ultimate oversight of the controlling shareholders: Lei Jun and

Bin Lin. Bin Lin Decl. ¶¶ 19, 22; see also Crowley Decl. Ex. A at 363 (discussing Lei Jun and

entities he controls as the firm’s “controlling shareholders”). No one else has the ability—whether

through minority share ownership, board seats, contracts, or otherwise—to “control” the company.

See Bin Lin Decl. ¶ 22; cf. In re ATM Fee Antitrust Litig., 686 F.3d 741, 757 (9th Cir. 2012)

(relying on the “ordinary meaning” of “control” to hold that because ownership of the corporation

was widely dispersed and the defendants only owned a small percentage, they “had insufficient

ownership interests to control” the corporation).

       The regulatory definitions promulgated by Defendant Department of the Treasury are

consistent with the plain meaning of the terms “own” and “control.” The Department of the

Treasury has defined “owned or controlled” in the context of other IEEPA-based sanctions

programs to mean “any entity . . . in which [the sanctioned government] owns a 50 percent or

greater interest or a controlling interest, and any entity . . . which is otherwise controlled by that

government.”12 31 C.F.R. § 561.322; see also id. § 561.323 (similar); id. § 560.313 (similar).

Likewise, the agency has issued regulations that instruct that a foreign entity is “‘owned or

controlled’ by a United States person” for purposes of the Iranian sanctions program if the U.S.


12
   This definition of ownership is consistent with OFAC’s 50 Percent Rule, which states that “any
entity owned in the aggregate, directly or indirectly, 50 percent or more by one or more blocked
persons is itself considered to be a blocked person.” Dep’t of the Treasury, Revised Guidance on
Entities Owned by Persons Whose Property and Interests in Property are Blocked (Aug. 13, 2014),
https://home.treasury.gov/system/files/126/licensing_guidance.pdf.


                                                 24
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 35 of 54




person “[h]olds a 50 percent or greater equity interest by vote or value in the entity . . . [h]olds a

majority of seats on the board of directors of the entity; or . . . [o]therwise controls the actions,

policies, or personnel decisions of the entity.” 31 C.F.R. § 560.215(a), (b). As described above,

Xiaomi is directed by its senior management and board of directors, who ultimately answer to

Xiaomi’s shareholders. Lei Jun and Bin Lin—not any proscribed entity—are Xiaomi’s controlling

shareholders, with votes to control a majority of the company’s board, to direct its senior

management, and to control the actions, policies, and personnel decisions of the company. Bin

Lin Decl. ¶¶ 19, 22; see also Crowley Decl. Ex. A at 363. Lei Jun and Bin Lin are businesspeople,

not members of the Chinese military forces or security services, nor are they the People’s

Liberation Army, a ministry of the Chinese government, or an entity affiliated with the defense

industrial base of the Chinese government.        Bin Lin Decl. ¶ 22.       Therefore, applying the

Department of the Treasury’s own interpretation of “owned or controlled,” Xiaomi is owned or

controlled by Lei Jun and Bin Lin and not by a proscribed entity under Section 1237.

       Second, Xiaomi is also not “affiliated with” either entity identified by Congress in

subsection (b)(4)(B)(i), i.e., the People’s Liberation Army or a ministry of the Chinese

government. Regardless of how the term “affiliated” is construed, Xiaomi is not an “affiliate” of

the Chinese army or a Chinese government ministry. See, e.g., United States v. W. Elec. Co., 12

F.3d 225, 230 (D.C. Cir. 1993) (noting the “usual corporate understanding of affiliation as a

relationship involving ownership or control” (citing Black’s Law Dictionary 54 (5th ed. 1979)

(“affiliate company” defined as a “[c]ompany effectively controlled by another company”))); Mey

v. DIRECTV, LLC, 971 F.3d 284, 289 (4th Cir. 2020) (“An affiliate is commonly understood as a

company effectively controlled by another or associated with others under common ownership or

control.’” (quoting Webster’s Third New International Dictionary 35 (2002)); Satterfield v. Simon




                                                 25
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 36 of 54




& Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009) (similar). Xiaomi is a private company that is

independently managed by its board and executives; it is not directly, or indirectly through

intermediaries, controlled by the army or a government ministry. See Bin Lin Decl. ¶ 23; see also

17 C.F.R. § 240.12b-2 (“An ‘affiliate’ of, or a person ‘affiliated’ with, a specified person is a

person that directly, or indirectly through one or more intermediaries, controls, or is controlled by,

or is under common control with, the person specified.”). The Chinese government and military

do not play—and have no right to play (for example, through share ownership or by contract)—

any role in shaping the company’s strategy and operations, which are singularly focused on

designing and bringing to market products and services for civilian and commercial use. See Bin

Lin Decl. ¶ 23. The company does not design or manufacture any products for military use. See

id.

       Given that Xiaomi is not owned or controlled by the People’s Liberation Army, a Chinese

government ministry, or an entity affiliated with China’s defense industrial base, and is not

affiliated with the Chinese army or a government ministry, Plaintiffs are likely to succeed on their

claim that the Designation of Xiaomi was unlawful, in excess of the Department of Defense’s

authority under Section 1237, and in violation of the statute.

       C.      The Designation and Restrictions Violate Due Process, As Applied to
               Plaintiffs, Because the Government Did Not Provide Any Notice or
               Opportunity to Contest the Designation.

       Plaintiffs are also likely to prevail on their due process claim.          “The fundamental

requirement of due process is the opportunity to be heard ‘at a meaningful time and in a meaningful

manner.’” Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (quoting Armstrong v. Manzo, 380 U.S.

545, 552 (1965)). The Supreme Court “consistently has held that some form of hearing is required

before an individual is finally deprived” of a property or liberty interest. Id. Even in the national

security context, “due process requires, at the least, that an affected party be informed of the


                                                 26
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 37 of 54




official action, be given access to the unclassified evidence on which the official actor relied and

be afforded an opportunity to rebut that evidence.” Ralls Corp. v. CFIUS, 758 F.3d 296, 319 (D.C.

Cir. 2014). Plaintiffs received nothing of the sort—no notice, no access to unclassified evidence,

no opportunity to be heard. Such complete lack of process is clearly insufficient under the Fifth

Amendment.

               1.      The Government Was Required to Provide Due Process When Designating
                       Xiaomi as a CCMC and Applying the Restrictions.

       The Designation and Restrictions implicate Xiaomi’s and the Individual Plaintiffs’

constitutionally protected liberty and property interests. Defendants were required to afford

Plaintiffs due process before depriving them of these interests. As U.S. citizens, the Individual

Plaintiffs are protected by the Due Process Clause even when they are abroad. See, e.g., Reid v.

Covert, 354 U.S. 1, 5–6 (1957) (plurality opinion).

       The Due Process Clause also applies to foreign corporations such as Xiaomi when they

have “entered the territory of the United States and established substantial connections with this

country.” Nat’l Council of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 203 (D.C. Cir. 2001)

[hereinafter NCRI]; see also United States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990).

       Xiaomi satisfies both requirements. It has entered the United States by organizing two

U.S.-headquartered subsidiaries under U.S. law, establishing an office in the United States, and

selling billions of dollars in securities to U.S. investors and more than $300 million in products to

American consumers. Bin Lin Decl. ¶¶ 11–12. Moreover, it maintains substantial ongoing

business connections with U.S. businesses and individuals. For example, in the past three years,

Xiaomi has spent more than $17.8 billion on components, software, and services supplied by U.S.

companies. See id. ¶ 10. These U.S. connections are clearly sufficient to trigger due process

protections. See, e.g., NCRI, 251 F.3d at 203.



                                                 27
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 38 of 54




                2.      The Designation and Restrictions Deprived Plaintiffs of Liberty and
                        Property Interests Without Due Process Because They Did Not Afford
                        Plaintiffs Any Notice or Opportunity to Be Heard.

        The Designation and Restrictions “alter[] [Xiaomi’s] legal status,” depriving it of an

existing liberty and property right to offer Securities to U.S. persons and to access U.S. capital

markets. Paul v. Davis, 424 U.S. 693, 708 (1976); see also Trifax Corp. v. District of Columbia,

314 F.3d 641, 643 (D.C. Cir. 2003) (“Th[is] ‘liberty concept’ protects corporations as well as

individuals, . . . [so] a deprivation of liberty [] triggers the procedural guarantees of the Due Process

Clause.”). Moreover, as a result of these actions, the Government has deprived Xiaomi of its

existing contractual relationships with U.S. shareholders and financial institutions, and its ability

to form future contracts. Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 572 (1972)

(recognizing that the Due Process Clause protects liberty interests in the “right . . . to contract”

(quoting Meyer v. Nebraska, 262 U.S. 390, 399 (1923))). These actions also severely damage

Xiaomi’s international reputation and professional goodwill.13 Reeve Aleutian Airways, Inc. v.

United States, 982 F.2d 594, 598 (D.C. Cir. 1993) (acknowledging a “liberty interest in avoiding[]

damage to [a company’s] reputation and business caused by” stigmatizing government action).

        With respect to the individual Plaintiffs, the Designation and Restrictions at a minimum

implicate their property rights. Each individual Plaintiff owns Xiaomi shares or options and has

property interests in those holdings. Bin Lin Decl. ¶¶ 9, 14; Peng Lin Decl. ¶ 4; English Decl. ¶ 4.


13
   Under the D.C. Circuit’s “stigma-plus” rule, reputational harm triggers due process protections
when coupled with the deprivation of “some benefit to which [the plaintiff has] a legal right,” or
when the “government-imposed stigma is so severe that it broadly precludes [the plaintiff] from
pursuing a chosen trade or business.” Gen. Elec. Co. v. Jackson, 610 F.3d 110, 121 (D.C. Cir.
2010) (quoting Trifax, 314 F.3d at 644). This rule reflects the Supreme Court’s conclusion that
the “alteration of legal status . . . combined with [] injury resulting from [reputational harm]
justifie[s] the invocation of procedural safeguards” under the Due Process Clause. Paul, 424 U.S.
at 708. Here, Xiaomi suffers an alteration of its legal status—and extensive resulting deprivations
of liberty and property—in addition to reputational harm.



                                                   28
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 39 of 54




They will be prohibited from purchasing more Xiaomi Securities and will also be required to divest

their existing holdings of such Securities by January 14, 2022, or face potentially draconian

penalties. See 50 U.S.C. § 1705 (authorizing civil penalties of up to $250,000 or twice the amount

of the transaction in question for violations of orders issued under IEEPA, whichever is greater,14

and up to a $1 million fine and/or 20-year prison term for willful violations of such orders); Exec.

Order No. 13959, Preamble (invoking IEEPA).

        Those government actions denying Plaintiffs their property and liberty interests cannot be

upheld unless they comport with the constitutional requirements of due process. “Due process

requires notice reasonably calculated, under all the circumstances, to apprise interested parties of

the pendency of the action and afford them an opportunity to present their objections.” United

Student Aid Funds v. Espinosa, 559 U.S. 260, 272 (2010) (quoting Mullane v. Central Hanover

Bank & Trust Co., 339 U.S. 306, 314 (1950)). How much process is due depends on (1) “the

private interest that will be affected by the official action,” (2) “the risk of an erroneous deprivation

of such interest through the procedures used,” and the likely value of additional process, and

(3) “the Government’s interest.” Mathews, 424 U.S. at 335. Procedures that do not allow parties

to “rebut the factual premises underlying [the Defendants’] action[s]” are “plainly not enough to

satisfy due process,” regardless of whether the Government invokes sensitive national-security

concerns. Ralls Corp., 758 F.3d at 320. For example, in Ralls Corporation, the D.C. Circuit held

that a Presidential CFIUS order violated due process directing a corporation owned by Chinese

nationals to divest American subsidiaries responsible for building windfarms in Oregon because

the corporation was never “informed of the official action, . . . given access to the unclassified



14
  The $250,000 maximum penalty for small transactions that violate IEEPA has been inflation-
adjusted and is now $307,922. See 85 Fed. Reg. 19884, 19884 (Apr. 9, 2020).


                                                   29
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 40 of 54




evidence on which the official actor relied and . . . afforded an opportunity to rebut that evidence.”

Id. at 301–02, 319–20.

       The process by which the Department of Defense designated Plaintiff Xiaomi likewise

failed to satisfy the minimum requirements of due process. Defendants gave no notice that the

Department of Defense was considering designating Xiaomi a CCMC under Section 1237.

Instead, Plaintiffs found out with the general public that Xiaomi had been so designated. See Bin

Lin Decl. ¶ 20. Since then, Plaintiffs have received no information from the Government regarding

any factual basis for the Designation nor any opportunity to address any Government concerns or

to “rebut the factual premises underlying the [agency’s] action.” Ralls Corp., 758 F.3d at 320. As

explained above, Xiaomi remains in the dark about the rationale for its Designation under

Section 1237 and the materials on which that Designation was purportedly based. See supra p. 12.

Moreover, because Section 1237 does not provide (nor have the agencies established) any

procedures for challenging the Designation of Xiaomi or the application of the Restrictions to

Xiaomi, Plaintiffs have no reason to believe that such rationale, materials, or hearing are

forthcoming. This “lack of process constitutes a clear constitutional violation, notwithstanding

[Defendants’] substantial interest in national security.” Ralls Corp., 758 F.3d at 320. Indeed,

“however weighty the governmental interest may be in a given case, the amount of process

required can never be reduced to zero—that is, the government is never relieved of its duty to

provide some notice and some opportunity to be heard prior to final deprivation of a property

interest.” Propert v. District of Columbia, 948 F.2d 1327, 1332 (D.C. Cir. 1991).

       Analogous D.C. Circuit precedent regarding the due process requirements for deprivation

of rights of entities facing designation as foreign terrorist organizations—a designation that does

not apply to Xiaomi—makes this a straightforward case. Under the Anti-Terrorism and Effective




                                                 30
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 41 of 54




Death Penalty Act of 1996, the Secretary of State is empowered to designate foreign terrorist

organizations, which are subject to sanctions that implicate the organizations’ liberty and property

interests. 8 U.S.C. § 1189; NCRI, 251 F.3d at 196. Like Section 1237, that statute contains a

“dearth of procedural participation and protection afforded [to] the designated entity.” NCRI, 251

F.3d at 196. When foreign terrorist organizations have brought due process challenges to their

designations, however, the D.C. Circuit has repeatedly held that “[t]he Secretary must afford to

the entities under consideration notice that the [foreign terrorist organization] designation is

impending,” provide to those entities “notice of those unclassified items upon which he proposes

to rely” for the designation, and give them the opportunity to “rebut the administrative record or

otherwise negate the proposition that they are foreign terrorist organizations.” Id. at 208–09; see

also Ralls Corp., 758 F.3d at 318; People’s Mojahedin Org. of Iran v. Dep’t of State (PMOI III),

613 F.3d 220, 228 (D.C. Cir. 2010) (per curiam); Chai v. Dep’t of State, 466 F.3d 125, 132 (D.C.

Cir. 2006). Xiaomi—a publicly traded consumer electronics company—and its U.S.-citizen

employees are entitled at the very least to the same due process protections as designated terrorist

organizations.

                 3.    Any Post-Deprivation Process Would Be Constitutionally Inadequate.

       Defendants cannot cure the unconstitutional denial of due process here by considering at

this juncture Plaintiffs’ objections to the Designation of Xiaomi as a CCMC under Section 1237.

Due process normally requires notice and an opportunity to be heard before a party is deprived of

a protected interest. See United States v. E-Gold, Ltd., 521 F.3d 411, 416–17 (D.C. Cir. 2008),

abrogated on other grounds by Kaley v. United States, 571 U.S. 320 (2014). “There are

‘extraordinary situations’ that justify postponing notice and opportunity for a hearing[,]” but such

situations “must be truly unusual.” Fuentes v. Shevin, 407 U.S. 67, 90 (1972) (quoting Boddie v.

Connecticut, 401 U.S. 371, 379 (1971)). To justify postponing notice and hearing until after a


                                                31
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 42 of 54




deprivation, the Government must satisfy three requirements: (1) the deprivation must be

“necessary to secure an important governmental interest”; (2) there must be “a special need for

very prompt action”; and (3) “the party initiating the deprivation must be a government official

responsible for determining . . . that [the deprivation] was necessary and justified in the particular

instance” under a narrowly drawn statute. Holy Land Found. for Relief & Dev. v. Ashcroft, 219 F.

Supp. 2d 57, 76 (D.D.C. 2002), aff’d, 333 F.3d 156 (D.C. Cir. 2003).

       This case does not present any such “extraordinary situation,” because Defendants cannot

establish any special need for “very prompt action.” This case presents circumstances quite

different from cases involving the freezing of assets of designated terrorist organizations, and not

simply because Xiaomi is a consumer electronics company, not a designated terrorist organization.

To prevent the imminent risk of asset flight, courts have held that the Government is not required

to afford designated terrorist organizations notice and a hearing before freezing their assets. See,

e.g., Holy Land Found., 333 F.3d at 163–64; Global Relief Found., Inc. v. O’Neill, 315 F.3d 748,

754 (7th Cir. 2002); see also, e.g., Zevallos v. Obama, 10 F. Supp. 3d 111, 127 (D.D.C. 2014),

aff’d, 793 F.3d 106 (D.C. Cir. 2015) (designation of drug kingpin). In the foreign-terrorist-

organization context and other similar cases, courts have stressed that post-deprivation process is

sufficient “given the government’s compelling interest in the immediate blocking of assets upon

designation” to prevent them from being “moved from the United States to elsewhere at a

moment’s notice.” Zevallos, 10 F. Supp. 3d at 127, 128. Here, there is no comparable risk that

providing notice to Xiaomi before it was designated a CCMC under Section 1237 would have

allowed Plaintiffs somehow to rush to raise capital from U.S. public-markets investors. Indeed,

the Executive Orders acknowledge the lack of urgency by delaying implementation of the

Restrictions until 60 or 365 days after a company is designated as a CCMC, depending on the




                                                 32
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 43 of 54




restriction. Exec. Order No. 13959, § 1(c).

       Moreover, even if post-deprivation process would satisfy due process in this case—and it

would not—Plaintiffs would still likely prevail on their due process claim because Defendants

have provided Plaintiffs with no process whatsoever. Even when OFAC designates Specially

Designated Nationals and Blocked Persons, due process requires “notice[,] an opportunity to

present evidence in written form to rebut the basis for the designation, [and the prompt provision

of the] unclassified administrative record on which [OFAC] relied in taking its blocking action.”

Zevallos, 10 F. Supp. 3d at 129. Indeed, there is a formal delisting process for Specially Designated

Nationals and Blocked Persons. Zevallos, 793 F.3d at 110 (citing 31 C.F.R. § 501.807). Here, by

contrast, the agencies have not established any formal process to ensure that Plaintiffs’ challenges

to the unlawfulness of the Designation, the lack of any accurate supporting factual material, and

the lack of any lawful rationale, will be heard and considered by the Government. Nor have

Defendants provided any process for Plaintiffs to review any purported factual material, in

unclassified form, on which the Designation rested and to refute such material for consideration

by the Government. See Ralls Corp., 758 F.3d 319–20.

       D.      This Case Is Justiciable and Does Not Pose A Political Question.

       To the extent the Government may attempt to oppose this motion for preliminary injunction

or the Complaint on grounds that the case presents a non-justiciable political question, this Court

should reject the argument as meritless. The political-question doctrine creates only a “narrow”

exception to the general rule that federal courts must adjudicate cases properly brought before

them, and that exception applies only “where there is a textually demonstrable constitutional

commitment of the issue to a coordinate political department; or a lack of judicially discoverable

and manageable standards for resolving it.” Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189,

195 (2012) (quoting Nixon v. United States, 506 U.S. 224, 228 (1993)).


                                                 33
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 44 of 54




       There is no “textually demonstrable” commitment in the Constitution of this issue to

another branch of government. Plaintiffs’ challenges to the Designation and Restrictions are based

on the Government’s failure to abide by limitations imposed by Congress and the U.S. Constitution

and do not require any adjudication of U.S. foreign policy towards China or any risks or

opportunities of U.S. investment in Xiaomi. Plaintiffs challenge the Defendants’ actions as in

excess of their statutory authority to designate Xiaomi as a CCMC under Section 1237 and to

impose related restrictions on its Securities in violation of the statute, and those actions as

violations of the APA and the requirements of due process. Plaintiffs’ claims “do[] not encroach

on the prerogative of the political branches, do[] not require the exercise of non-judicial discretion

and [are] susceptible to judicially manageable standards.” Ralls Corp., 758 F.3d at 314 (involving

procedural due process claims); see also Zivotofsky, 566 U.S. at 196 (political question doctrine

did not bar claim where plaintiff sought to “enforce a specific statutory right” rather than “to

supplant a foreign policy decision of the political branches with the courts’ own unmoored

determination of what United States policy . . . should be”).

       D.C. Circuit jurisprudence regarding the designation of foreign terrorist organizations is

instructive. The State Department may designate a group as a foreign terrorist organization if three

requirements are met: (A) “the organization is a foreign organization”; (B) “the organization

engages in terrorist activity . . . or terrorism . . . or retains the capability and intent to engage in

terrorist activity or terrorism”; and (C) “the terrorist activity or terrorism of the organization

threatens the security of United States nationals or the national security of the United States.” 8

U.S.C. § 1189(a)(1). Although the State Department’s findings on the third requirement present a

non-justiciable political question, its findings on the first two do not. People’s Mojahedin Org. of

Iran v. Dep’t of State (PMOI I), 182 F.3d 17, 23–24 (D.C. Cir. 1999). Here, by comparison, the




                                                  34
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 45 of 54




validity of the Department of Defense’s authority to designate Xiaomi as a CCMC under

Section 1237 requires only the straightforward factual inquiries into the ownership, control, and

affiliations of Xiaomi to determine whether it meets the statutory criteria for the agency to exercise

such authority. And Plaintiffs’ challenges to the Department of Defense’s Designation as violative

of the APA and due process do not require the Court to second-guess any “foreign policy decisions

of the Executive Branch.” Id. at 23; see also Ralls, 758 F.3d at 314; State of Washington v. U.S.

Dep’t of State, 443 F. Supp. 3d 1245, 1255 (W.D. Wash. 2020) (“challenging whether federal

agencies complied with the APA in promulgating” rules removing items from U.S. Munitions List

did not implicate political question).

II.    The Designation and Restriction Are Inflicting, and Will Continue to Inflict,
       Irreparable Harm on Plaintiffs.

       Absent preliminary injunctive relief, the Designation and Restrictions will continue to

inflict serious and irreparable harm on Plaintiffs during the pendency of this case.

       A.      The Designation and Restrictions Are Irreparably Harming Plaintiffs’ Fifth
               Amendment Rights and Will Continue to Do So.

       As discussed above, Plaintiffs have shown that the Designation and Restrictions violated

their procedural due process rights. See supra pp. 26–33. “It has long been established that the

loss of constitutional freedoms, ‘for even minimal periods of time, unquestionably constitutes

irreparable injury.’” Mills v. District of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009) (quoting

Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)).15 District courts in this Circuit,

relying on Mills, have found that where a plaintiff is likely to succeed on the merits of a procedural

due process claim, this deprivation of constitutional rights constitutes irreparable harm. See, e.g.,

Advance Am. v. FDIC, No. 14-CV-953 (GK), 2017 WL 2672741, at *10 (D.D.C. Feb. 23, 2017);


15
 Violations of the separation of powers, however, are not irreparable harm per se. E.g., John
Doe Co. v. CFPB, 849 F.3d 1129, 1135 (D.C. Cir. 2017).


                                                 35
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 46 of 54




Simms v. District of Columbia, 872 F. Supp. 2d 90, 104–05 (D.D.C. 2012); Goings v. Court Servs.

& Offender Supervision Agency for D.C., 786 F. Supp. 2d 48, 79 (D.D.C. 2011).

        B.      The Designation and Restrictions Are Irreparably Harming Xiaomi’s Business
                and by Extension Its Shareholders Including the Individual Plaintiffs, and
                Will Continue to Do So.

        The Designation and Restrictions will irreparably harm Xiaomi, and by extension its

shareholders, by causing extreme and irreversible damage to Xiaomi’s business, unless a

preliminary injunction is entered. These measures have already caused Xiaomi’s share price to

decline by 9.5 percent at a time when competitor firms’ share prices have soared. See Bin Lin

Decl. ¶ 30. As of March 15, these harms will drastically accelerate, as U.S. persons will not be

allowed to purchase Xiaomi Securities, which will largely cut off Xiaomi’s access to the capital it

needs from the U.S. financial markets to remain competitive, diminishing its market share, causing

lasting damage to its brand reputation and goodwill in the marketplace, and seriously hampering

its ability to recruit and retain talent.

        Access to capital and other business opportunities. To remain competitive in the highly

competitive global smartphones, consumer internet of things, and internet services industries,

Xiaomi must continue to grow rapidly and to upgrade constantly its existing product offerings.

Bin Lin Decl. ¶ 25. Xiaomi’s rapid growth to date has been fueled in part by billions of dollars of

outside investment, including from U.S. investors. Id. ¶¶ 25–26. For example, in 2020 alone,

Xiaomi raised approximately $4.5 billion through the issuance of U.S.-dollar-denominated bonds,

convertible bonds, and common shares. Id. ¶ 12. Approximately one-third of this total was placed

with U.S. investors. Id. Beginning on March 15, however, the Restrictions will largely cut off

Xiaomi’s access to new investment from U.S. capital markets, depriving the company of funds it

could use to pursue research and development (“R&D”) and to pursue strategic transactions,

including acquisitions of other businesses. Id. ¶ 26. Moreover, the significant reduction in the


                                                36
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 47 of 54




market value of Xiaomi’s ordinary shares triggered by the Designation, along with the extent to

which the Restrictions have made Xiaomi shares unattractive (and indeed, as of March 15,

unusable) as a means of purchasing companies or assets from U.S. persons, already has caused

Xiaomi to abandon one transaction to acquire a major new business—leaving the potential target

open to be acquired by one of Xiaomi’s competitors. Id. ¶ 27. These adverse effects on Xiaomi’s

long-term business prospects constitute irreparable harm. See Mylan Pharm., Inc. v. Shalala, 81

F. Supp. 2d 30, 43 (D.D.C. 2000) (“[C]ourts have found irreparable harm where the movant has

made a strong showing that the economic loss would significantly damage its business above and

beyond a simple diminution in profits.”) (collecting cases).

       Loss of market share. As Xiaomi curbs its R&D spending and withdraws from the market

for strategic acquisitions, competitors not subject to the Restrictions are more than likely to step

up and take its place. Bin Lin Decl. ¶¶ 27–31. Even if the Designation and Restrictions were to

be reversed later, Xiaomi would not be able to make up the ground lost to competitors and lost

business opportunities would not resurface again. Id. ¶ 31. It is well-established that this sort of

loss of market share to a competitor constitutes irreparable harm. Bayer HealthCare, LLC v. U.S.

Food & Drug Admin., 942 F. Supp. 2d 17, 26 (D.D.C. 2013) (“Courts have recognized that price

erosion and diminished market share can constitute irreparable harm.”) (collecting cases); see, e.g.,

TikTok Inc. v. Trump, No. 1:20-CV-02658 (CJN), 2020 WL 5763634, at *8 (D.D.C. Sept. 27,

2020) (holding that the operator of a video-sharing application, and its Chinese parent company,

demonstrated that they would suffer “irreparable economic and reputational harm” where the

Secretary of Commerce prohibited certain transactions that would ultimately erode the app’s

competitive position and its attractiveness as a commercial partner).




                                                 37
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 48 of 54




       Harms to business reputation and goodwill. Being designated by the Department of

Defense as a “Communist Chinese military company” under Section 1237 will undoubtedly harm

Xiaomi’s brand reputation and goodwill in the marketplace, as well as its efforts to sell its products

internationally. Bin Lin Decl. ¶ 32; Armour & Co. v. Freeman, 304 F.2d 404, 406 (D.C. Cir. 1962)

(irreparable harm where defendant’s conduct “could not fail to damage [plaintiff’s] good name”).

The measures have also undermined confidence in the marketplace regarding Xiaomi’s ability to

operate its business, leading to rumors that its business partners will cut ties with the company.

Bin Lin Decl. ¶ 32. Indeed, Xiaomi was recently forced to refute a rumor that a major U.S.

technology company would stop supporting Xiaomi phones. Id. It is well established that loss of

“customer trust and goodwill” constitutes irreparable harm. See, e.g., Morgan Stanley DW Inc. v.

Rothe, 150 F. Supp. 2d 67, 77 (D.D.C. 2001).

       Difficulty recruiting and retaining talent. As a consumer electronics company, Xiaomi

relies on, invests heavily in, and competes aggressively to recruit talented engineers, industrial

designers, and other employees. See Bin Lin Decl. ¶ 33. Epitomizing the importance of recruiting

for Xiaomi, Bin Lin and other senior executives personally spend a significant percentage of their

time recruiting senior engineers and scientists. Id. The Designation and Restrictions have already

hampered these recruiting efforts by damaging Xiaomi’s international branding and corporate

goodwill and creating uncertainty about the company’s future business prospects. Id. Indeed,

since the Designation, two potential senior recruits have stated that they are unwilling to join

Xiaomi because of the measures the U.S. Government has taken against the company. Id.

       Moreover, the Designation and Restrictions are interfering with Xiaomi’s efforts to retain

the talent it has already recruited. Given that the Designation and Restrictions have driven down

Xiaomi’s share price, they have reduced the value of stock options and restricted stock units




                                                 38
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 49 of 54




granted to Xiaomi employees, and reduced many of Xiaomi’s employees’ incentives to remain

with the company until their options or shares vest. Id. ¶ 34. Xiaomi’s share price will in all

likelihood remain depressed, due to the elimination of demand for those shares from U.S. persons.

This interference with Xiaomi’s ability “to recruit and retain employees to build—or even

maintain—its business” likewise supports the conclusion that the Designation and Restrictions

have caused Xiaomi irreparable harm. See, e.g., TikTok, 2020 WL 5763634, at *8.

       Unrecoverable monetary losses. The Designation and Restrictions already have caused

Xiaomi to suffer grave economic losses, and will continue to do so if their implementation and

enforcement is not enjoined pending resolution of this action. Since the announcement of the

Designation and Restrictions, Xiaomi’s stock price has decreased by 9.5 percent as of February

16, 2021, and its market capitalization declined by approximately $10 billion. Bin Lin Decl. ¶ 30.

Xiaomi’s share price is likely to continue to decline (or at least to remain depressed) if the

Restrictions are not enjoined. See id. ¶¶ 29–31.

       These losses are reason alone to conclude that Xiaomi is suffering and will continue to

suffer irreparable harm. In general “economic loss does not, in and of itself, constitute irreparable

harm.” Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985). But that rule does not hold

true when economic losses are unrecoverable, such as when—as here—sovereign immunity bars

claims for damages. See 5 U.S.C. § 702; see, e.g., Nat’l Min. Ass’n v. Jackson, 768 F. Supp. 2d

34, 52–53 (D.D.C. 2011). Courts in this district have not spoken with a uniform voice as to

whether unrecoverable economic losses are irreparable per se (provided they are “imminen[t]”),

e.g., Feinerman v. Bernardi, 558 F. Supp. 2d 36, 50–51 (D.D.C. 2008), or whether the movant

must also show, for example, that the losses are “significant,” e.g., Air Trans. Ass’n of Am., Inc. v.

Export-Import Bank, 840 F. Supp. 2d 327, 335 (D.D.C. 2012), “serious,” e.g., ViroPharma, Inc.




                                                 39
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 50 of 54




v. Hamburg, 898 F. Supp. 2d 1, 26 (D.D.C. 2012), or “severe,” e.g., Save Jobs USA v. DHS, 105

F. Supp. 3d 108, 115 (D.D.C. 2015). But the Court need not resolve that question in this case,

because Xiaomi’s economic losses constitute irreparable harm no matter how the Court defines it.

See District of Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 37–38 (D.D.C. 2020).

       C.      The Designation and Restrictions Will Cause the Individual Plaintiffs to Suffer
               Irreparable Harm.

       The individual Plaintiffs will be irreparably harmed by the Restrictions, which will prohibit

them from purchasing additional Xiaomi publicly traded Securities as of March 15, 2021

(including prohibiting them from realizing the economic benefits of share-based benefit awards

they have received and would, but for the Restrictions, expect to continue to receive) and will

require them to divest their publicly traded Xiaomi shares by January 14, 2022.

       Plaintiff Bin Lin would be required to sell billions of dollars of Xiaomi publicly traded

shares at a time when the price of those shares is significantly lower than it would be in the absence

of the Designation and Restrictions. Bin Lin Decl. ¶ 35. So long as the Designation and

Restrictions remain in place, Bin Lin will be unable to benefit from any future appreciation in the

price of those shares. Id. Given that Bin Lin will face significant, unrecoverable losses should the

Restrictions take effect, he is “likely to suffer at least some degree of irreparable injury absent

preliminary injunctive relief.” Feinerman, 558 F. Supp. 2d at 50–51. Moreover, insofar as the

Restrictions are deemed to apply to Bin Lin’s Class A shares, the forced sale of those shares would

result in the permanent elimination of the enhanced voting rights attached to those shares, as those

shares would be automatically and irretrievably converted into Class B shares upon their sale. Bin

Lin Decl. ¶ 13. Bin Lin would be emotionally “devastat[ed]” if he were forced to dispose of his

shareholdings in the company he co-founded and has spent the last decade developing from

infancy to multinational success. Id. ¶ 35.



                                                 40
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 51 of 54




       Plaintiffs Peng Lin and Stephen Sean English would be irreparably harmed if the

Designation were maintained and the Restrictions take effect. Both Peng Lin and Stephen Sean

English own Xiaomi publicly traded shares and would be required to divest those holdings (and

be prohibited from acquiring additional shares) if the Restrictions take effect. Peng Lin Decl. ¶¶

4–5; English Decl. ¶¶ 4–5. As employees of Xiaomi since 2016, they have been beneficiaries of

the Xiaomi Corporation employee benefit plan, which regularly awards employees Xiaomi stock

options and restricted stock units. This benefit plan is a meaningful part of their compensation,

was important to them when deciding whether to join the company, and has remained an important

reason why they have stayed with the company. Peng Lin Decl. ¶ 3; English Decl. ¶ 3. As of

March 15, 2021, however, they will no longer be permitted to receive awards of Xiaomi stock.

Peng Lin Decl. ¶ 5; English Decl. ¶ 5. Both Peng Lin and Stephen Sean English also currently

hold awarded but unvested awards of shares and options. Peng Lin Decl. ¶ 4; English Decl. ¶ 4.

Insofar as the Restrictions apply to the vesting of granted but unvested share awards, these two

employees would be required to forfeit their unvested awards.

III.   The Balance of the Equities and the Public Interest Support A Preliminary
       Injunction.

       The last two steps of the preliminary injunction analysis—the balance of the equities and

the public interest—likewise cut in Plaintiffs’ favor. In balancing the equities, the court “weighs

the harm to [Plaintiffs] if there is no injunction against the harm to [Defendants] if there is.”

Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016). And where the

Government is the opposing party, the Government’s interest and the public interest merge. Id.

(citing Nken v. Holder, 556 U.S. 418, 435 (2009)). Here, there would be significant harm to

Plaintiffs if a preliminary injunction were denied, but the harm to the Government from issuing

such an injunction would be slight at best.



                                                41
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 52 of 54




       As explained above, Plaintiffs would be severely harmed by the denial of a preliminary

injunction. See supra pp. 35–41. On the other side of the scale, there is little to offset these

harms. “There is generally no public interest in the perpetuation of unlawful agency action.”

League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (collecting cases). “To the

contrary, there is a substantial public interest ‘in having governmental agencies abide by the

federal laws that govern their existence and operations.’” Id. (quoting Washington v. Reno, 35

F.3d 1093, 1103 (6th Cir. 1994)). Regardless of whether the Government has a substantial

interest in enforcing sanctions against properly designated CCMCs, there is nothing to

demonstrate that the Government would be harmed, or the public interest benefited, by

preventing U.S. persons from transacting in and possessing Xiaomi Securities. Nor would the

public interest be served by allowing Defendants to dispense with the procedural requirements

of the Fifth Amendment and APA. See Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)

(“[E]nforcement of an unconstitutional law is always contrary to the public interest. The

Constitution does not permit Congress to prioritize any policy goal over the Due Process Clause.”

(citations omitted)).

       Meanwhile, the risk of hardship to the Government from delaying implementation or

enforcement of the Designation and Restrictions against Xiaomi while this case is adjudicated is

slight. The Department of Defense did not publish a list of CCMCs for more than 20 years after

Section 1237 was enacted, and the Trump Administration designated Xiaomi more than two

months after announcing the Restrictions. Moreover, as a logistical matter, it would be simple

for Defendants, by issuing a temporary license or otherwise, to delay implementation of these

measures pending the conclusion of this case without revoking the existing Designations or

Restrictions. In fact, Department of the Treasury has recently done just this for companies whose




                                                42
        Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 53 of 54




names “closely match[], but do[] not exactly match, the name[s] of . . . [CCMCs],” which are

exempt from the Requirements until May 27, 2021. Off. of Foreign Assets Control, Dep’t of the

Treasury, General License No. 1A Authorizing Transactions Involving Securities of Certain

Communist      Chinese      Military    Companies       (Jan.    26,     2021),     available    at

https://home.treasury.gov/system/files/126/ccmc_gl1a_01272021_1.pdf.

       Because the harm to Plaintiffs from maintaining the Designation and implementing the

Restrictions against Xiaomi vastly outweigh any harm to the Government from a preliminary

injunction, this final requirement for the issuance of such an injunction is more than satisfied.

Nw. Immigrant Rights Proj. v. U.S. Citizenship & Immigration Servs., No. 19-CV-3283 (RDM),

2020 WL 5995206, at *32 (D.D.C. Oct. 8, 2020), appeal dismissed, No. 20-5369, 2021 WL

161666 (D.C. Cir. Jan. 12, 2021).

                                         CONCLUSION

       Plaintiffs respectfully urge the Court to grant this motion and to issue as soon as possible,

and in all events before the Restrictions go into effect on March 15, 2021, a preliminary

injunction against enforcement or implementation of the Designation or Restrictions as applied

to Xiaomi’s Securities.

DATED: February 17, 2021                      Respectfully submitted,

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                                                 43
Case 1:21-cv-00280-RC Document 14-1 Filed 02/17/21 Page 54 of 54




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                               44
